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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                   Judge Nina Y. Wang


  Civil Action No. 21-cv-01382-NYW-NRN

  ANDREW SCHOBER,

         Plaintiff,

  v.

  BENEDICT THOMPSON,
  OLIVER READ,
  EDWARD J. THOMPSON,
  CLAIRE L. THOMPSON,
  PAUL READ, and
  HAZEL DAVINA WELLS,

         Defendants.

               ORDER ADOPTING MAGISTRATE JUDGE’S RECOMMENDATION


         This matter is before the Court on the “Report and Recommendation on Defendant Oliver

  Read’s Motion to Dismiss (Dkt. #57)” (“Recommendation”) issued by United States Magistrate

  Judge N. Reid Neureiter on February 8, 2023. [Doc. 70]. Judge Neureiter recommends that

  Defendant Oliver Read’s Motion to Dismiss, [Doc. 57], be denied pursuant to Federal Rules of

  Civil Procedure 12(g)(2) and 12(h)(1)(A).

         The Recommendation states that objections to the Recommendation must be filed within

  14 days after its service on the Parties. [Doc. 70 at 4]; see also 28 U.S.C. § 636(b)(1)(C). The

  Recommendation was served on February 8, 2023. See [Doc. 70]. No Party has objected to the

  Recommendation and the time to do so has lapsed.

         In the absence of an objection, the district court may review a Magistrate Judge’s

  recommendation under any standard it deems appropriate. See Summers v. Utah, 927 F.2d 1165,
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  1167 (10th Cir. 1991); see also Thomas v. Arn, 474 U.S. 140, 150 (1985) (“It does not appear that

  Congress intended to require district court review of a [magistrate judge’s] factual or legal

  conclusions, under a de novo or any other standard, when neither party objects to those findings.”).

  In this matter, the Court has reviewed the Recommendation to satisfy itself that there is “no clear

  error on the face of the record.” 1 Fed. R. Civ. P. 72(b), advisory committee’s note to 1983

  amendment. Based on this review, the Court has concluded that the Recommendation is thorough,

  well-reasoned, and a correct application of the facts and the law.

         Accordingly, it is ORDERED that:

         (1)     The “Report and Recommendation on Defendant Oliver Read’s Motion to Dismiss

                 (Dkt. #57)” [Doc. 70] is ADOPTED;

         (2)     Defendant Oliver Read’s Motion to Dismiss [Doc. 57] is DENIED; and

         (3)     The Clerk of Court shall mail this Order to the following:

                         Oliver Read and Hazel Davina Wells
                         81 Oakleigh Road
                         Clayton, Bradford
                         West Yorkshire, United Kingdom

                         Paul Read
                         10 Brook Lane
                         Clayton, Bradford
                         West Yorkshire, United Kingdom


  DATED: March 6, 2023                                  BY THE COURT:


                                                        _________________________
                                                        Nina Y. Wang
                                                        United States District Judge



  1
   This standard of review is something less than a “clearly erroneous or contrary to law” standard
  of review, Fed. R. Civ. P. 72(a), which in turn is less than a de novo review. Fed. R. Civ. P. 72(b).

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